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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                    Case No. 18-cv-22666-KMM
     ROSARIO SANCHEZ

                Plaintiff,

     vs.

     PORKYS CABARET INC., d/b/a BELLAS
     CABARET, a Florida Company

            Defendant.
     ________________________________________/


                               UNOPPOSED MOTION TO REMAND

              Plaintiff, ROSARIO SANCHEZ, by and through undersigned counsel, pursuant to

     28 U.S.C. § 1367(c)(3) hereby respectfully requests entry of an Order granting this

     Unopposed Motion to Remand this action back down to the Circuit Court in and for

     Miami-Dade County, Florida. As grounds, Plaintiff states:

     1. On July 23, 2018, Plaintiff filed an Amended Complaint to dismiss her unpaid wage

           claims pursuant to the Fair Labor Standards Act. (ECF No. 8).

     2. After amending the Complaint, the only claim left before this Honorable Court is

           Plaintiff’s claim for unpaid wages pursuant to Fla. Stat. 448101(3). As such, there are

           no Federal claims currently pending.

     3. Since the only claim at issue is a distinctly state law claim, Plaintiff now respectfully

           requests that this Court enter an Order dismissing Plaintiff’s FLSA claims with
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           prejudice and remanding the action back down to the Circuit Court in and for Miami-

           Dade County, Florida.1

     4. There is no prejudice by remanding this action where discovery is still in its early

           stages and depositions have not yet occurred. Further, Defendant is not opposing this

           Motion which is indicative no prejudice against either party.

     5. Plaintiff has not filed this motion in bad faith or for a dilatory reason.

     6. Counsel for Plaintiff conferred with counsel for Defendant via phone on July 23,

           2018 regarding this Motion to Amend. There is no opposition to this Motion.

                                          MEMORANDUM OF LAW

                Plaintiff moves to remand this case pursuant to 28 U.S.C. § 1367(c)(3) because

     the only claims over which this Court had original jurisdiction (the claims against the

     Defendants arising under the FLSA) have been dismissed via an Amended Complaint.

     The Eleventh Circuit has a stated policy in favor of dismissing state law claims under

     these circumstances. See Raney v. Allstate Ins. Co., 370 F.3d 1086, 1088-89 (11th Cir.

     2004) (“The decision to exercise supplemental jurisdiction over pendant state claims rests

     within the discretion of the district court. We have encouraged district courts to dismiss

     any remaining state claims when, as here, the federal claims have been dismissed prior to

     trial.” (citations omitted)); accord Cohill, 484 U.S. at 351 (“When the single federal law

     claim in the action [is] eliminated at an early stage of the litigation, the district court [has]

     a powerful reason to choose not to continue to exercise jurisdiction.”); United Mine

     Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966) (“Certainly, if the federal claims are

     dismissed before trial, . . . the state claims should be dismissed as well.”). “Both comity


     1   This matter was originally filed in Circuit Court in and for Miami-Dade County, Florida.
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     and economy are served when issues of state law are resolved by state courts.” Rowe v.

     City of Fort Lauderdale, 279 F.3d 1271, 1288 (11th Cir. 2002). With the filing of the

     Amended Complaint, which resulted in the dismissal of only federal law claims, what

     remains here are only state law claims that are, respectfully, best addressed by the Circuit

     Court. See Pinkert v. Schwade, No. 11-23324, 2012 WL 3962386, at *2 (S.D. Fla. Sept.

     10, 2012) (remanding a case to state court where the plaintiff's amended complaint

     “consist[ed] entirely of state statutory and common law causes of action that would be

     more appropriate for a Florida court to resolve”).


            WHEREFORE, Plaintiff respectfully requests this Honorable Court grant this

     Unopposed Motion and remands this action back down to the Circuit Court in and for

     Miami-Dade County, Florida.


     Dated: July 30, 2018.
                                                          Respectfully submitted,

                                                       /s/Nathaly Lewis
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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 30th day of July 2018 I electronically filed

     the foregoing document with the Clerk of the Court using CM/ECF. I also certify that the

     foregoing document is being served this day on all counsel of record or pro se parties

     identified on the attached Service List in the manner specified, either via transmission of

     Notices of Electronic Filing generated by CM/ECF or in some other authorized manner

     for those counsel or parties who are not authorized to receive electronically Notices of

     Electronic Filing.



                                                  s/ Nathaly Lewis
                                                  NATHALY LEWIS
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     Service: CM/ECF Filing
